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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


UNITED STATES OF AMERICA


v.                                    CRIMINAL ACTION NO. 2:05-00107-01


GEORGE LECCO


                        MEMORANDUM OPINION AND ORDER


            Pending is defendant’s motion for the ex parte

deposition of a witness pursuant to Federal Rule of Criminal

Procedure 15, filed March 22, 2010.


            On a date unstated in the instant motion, defense

investigator Julianne Cuneo attempted to interview Trooper R.G.

Flippen of the West Virginia State Police.             Ms. Cuneo asserts

that Trooper Flippen at first cooperated with the request.                 After

consulting with a State Police supervisor, however, defendant

contends that Trooper Flippen advised Ms. Cuneo that he was told

“it would be best to stay silent.”          (Mot. at 2).      Trooper Flippen

has since had no further communication with Ms. Cuneo.


            The United States responds that Trooper Flippen was

advised by the supervisor that he was not required to speak with

Ms. Cuneo and that he then, of his own accord apparently, chose
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not to do so.        (Resp. at 1, 2 (stating that “If the investigator

believes otherwise, then she has misunderstood” and noting also

the supervisor’s observation that “State Police members often

seek his advice when approached by investigators, and his

response is always the same: you may speak with the investigator

if you want, but you are not required to.”)).


            Nevertheless, the United States appears to have taken

immediate prophylactic measures:

      In an abundance of caution, the United States has made
      certain that . . . Flippen understands he is free to be
      interviewed by defendant's investigator. . . . [His
      supervisor] has done the same. . . . Flippen advises
      that he fully understands that point and understood it
      when he declined the investigator's request. The
      United States is not in a position to command . . .
      Flippen to submit to an interview, but it has no doubt
      whatsoever that he knows he may do so if he chooses.

(Id. at 3).


            Defendant now moves for permission to conduct an ex

parte deposition of Trooper Flippen prior to trial pursuant to

Rule 15.    He asserts that “the actions of the government in this

case, whether it be the government’s attorney or one of the

government’s agents, has denied the defendant a fair trial by

denying him access to evidence necessary to mount a defense.”

(Id.)




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                                      II.



            Defendant relies principally upon Gregory v. United

States, 369 F.2d 185, 188 (D.C. Cir. 1966).1             The decision is

distinguishable inasmuch as the defendant there alleged that the

prosecutor was directly responsible for the stone-walling

activity in the case by advising crime-scene witnesses not to

speak with anyone unless he was present.              In this case, the

prosecutor did the opposite.         Confronted with an allegation of

stonewalling, the United States counseled Trooper Flippen

appropriately.       If Trooper Flippen yet refuses to be interviewed

by the defense, he cannot be compelled to do so.              United States

v. Walton, 602 F.2d 1176, 1179-80 (4th Cir. 1979) (“A witness is

not the exclusive property of either the government or a

defendant; a defendant is entitled to have access to any

prospective witness, although in the end the witness may refuse

to be interviewed.”).

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      Defendant also asserts that Trooper Flippen played an
integral part in the investigation of this case and, as such,
that he is properly deemed a government agent. Having that
status, defendant contends that Trooper Flippen “should be held
to the same standards as any member of the government’s team.”
(Mot. at 3). With that factual predicate, defendant relies upon
Kyles v. Whitley, 514 U.S. 419, 438 (1995), and its progeny,
which recognize a prosecutorial “duty to learn of any favorable
evidence known to the others acting on the government's behalf in
the case, including the police.” The United States’ response to
defendant’s motion, quoted earlier, indicates its awareness of
the obligation imposed.

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            In any event, Rule 15 provides no basis for the relief

sought by defendant.      That provision contemplates depositions in

a criminal case only where necessary to preserve a witness’

testimony for trial or upon request by a detained material

witness.    Neither situation is presented here.           Rule 15 is not an

additional discovery device beyond those already provided in Rule

16.


            The court, accordingly, ORDERS that defendant’s motion

for an ex parte deposition of a witness pursuant to Federal Rule

of Criminal Procedure 15 be, and it hereby is, denied.


            The Clerk is directed to forward copies of this written

opinion and order to the defendant and all counsel of record.

                                          DATED: April 6, 2010


                                          John T. Copenhaver, Jr.
                                          United States District Judge




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